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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                   GAINESVILLE DIVISION


 WESTFIELD INSURANCE
 COMPANY,
                Plaintiff,                            Civil Action No.
                    v.                               2:21-CV-53-RWS
 ALMARK HOLDINGS, INC.,
               Defendant.


                                     ORDER

      This case comes before the Court on the parties’ Joint Notice of Settlement

[Dkt. 50]. Therein, the parties ask the Court to allow them 45 days to prepare and

execute a formal settlement agreement and stipulation of dismissal (the

“Settlement Documents”), and that the Court stay all deadlines for any and all

pending motions while the parties prepare and execute those Settlement

Documents. [Id. at 1]. Having considered the Joint Notice of Settlement, and for

good cause shown, the Court hereby STAYS all pending deadlines for 45 days to

allow the parties to prepare, execute, and file those Settlement Documents.

      SO ORDERED this 21st day of November, 2023.


                                    ________________________________
                                    RICHARD W. STORY
                                    United States District Judge
